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                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                    SOUTHERN DISTRICT OF GEORGIA
                                               AUGUSTA DIVISION


UNITED STATES OF AMERICA


                                                                             CR    109-073


SYLVESTER RUBEN LEWIS




                                                   ORDER




      Defendant has filed a motion for reduction of sentence under 18 U.S.C.

§ 3582(c)(2) on the basis that Amendment 782 to the United States Sentencing

Guidelines        has   revised          the    guidelines        applicable         to   drug      trafficking

offenses.1        Even though Amendment 782 became effective on November 1, 2014,

no   defendant      may   be    released         on   the   basis      of    the     retroactive         amendment

before November 1, 2015.                  See U.S.S.G.          Amend.      788.     Thus,    the       Court will

undertake     a    review      of    cases      involving       drug     trafficking         offenses      in due

course.      If   Defendant         is   entitled     to    a   sentence      reduction       as    a    result   of

amendments to the United States Sentencing Guidelines,                                 the Court will make

such a reduction sua sponte.                   Accordingly,       Defendant's motion (doc. 445) is

DEFERRED.1

      ORDER ENTERED at Augusta, Georgia, t                                         day of February, 2015




                                                 HONORABLE       J.    RANDAL HALL
                                                 UNITED STATES          DISTRICT JUDGE
                                                         fERN DISTRICT OF GEORGI




1     Defendant additionally seeks appointment of counsel.                            Because the Court will
address Defendant's request sua                sponte,   his request for appointment of                  counsel is
DENIED at this time.


1     The Clerk is directed to terminate the motion for administrative purposes.
